                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      NO. 3:12-00044
                                                     )      JUDGE CAMPBELL
LACY BRIAN WHITFIELD, et al.                         )

                                             ORDER

         Pending before the Court is Defendant Lacy Brian Whitfield’s Motion to Enlarge Time

for Filing Pretrial Motions (Docket No. 38). The Motion is GRANTED.

         The deadline for filing pretrial motions for ALL Defendants is extended to May 3, 2013.

         It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




     Case 3:12-cr-00044      Document 39       Filed 03/04/13     Page 1 of 1 PageID #: 176
